AO 93 (Rev. 11/13)Search and Seizure Warrant
                                                                                                                                          FiLrO
                                           United States District Court
                                                                            for the

                                                              Eastern District of Virginia                                                    P 2- 1ij
                                                                                                                           Cl       I;S
                  In the Matter ofthe Search of
             (Briefly describe the property to be searched
              or identify the person by name and address)
               n associated wtn target email accounts                                    Case No. 1:19-SW-<fAf-
    Information associated with YASSERNADER93@GMAIL.COM
    that are in custody ofthe Federal Bureau ofInvestigation located at
    9325 Discovery Blvd.,
    Manassas, Virginia 20109
                                                  SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
          An application by a federal law enforcement officer or an attorney for the government requests the search
ofthe following person or property located in the                          Eastern                District of                      Virginia
(identify the person or describe the property to be searched and give its location):

      See attachment A




          I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal(identify the person or describe the property to be seized):
     See attachment B




          YOU ARE COMMANDED to execute this warrant on or before                                                                  (not to exceed 14 days)
      0 in the daytime 6:00 a.m. to 10:00 p.m.                O at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy ofthe warrant and a receipt for the property taken to the
person from whom,or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
          The officer executing this warrant, or an officer present during the ^ecution ofdie^rrant, must prepare an
as required by law and promptly return this warrant and inventory to
                                                                                                         (United States Magistrate Judge)

     □ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
    □ for          days (not to exceed 30) □ until, the facts iustifying, the later specific date of


Date and time issued:          Pa.n, iMt,                                              John F. Anderson
                                                                                       Uiiileu Sidles.
                                                     U54C/»^
City and state:             Alexandria, Virginia                                              The Honorable John Anderson, Magistrate Judge
                                                                                                                Printed name and title
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                                                                 Return

Case No.:                              Date and time warrant executed:        Copy of warrant and inventory left with:
   1:19-SW-                                                                              - PoT Tb f€.\ V"(L<r
Inventory made in the presence of:
                                 -reTb           pfi9U\CCnMT
Inventory ofthe property taken and name of any person(s) seized:


                                             CoYotexrrs of iC*?-
                          PlSkl CcnojI\ii0\f0(r Fil^S (l^LATe-O To
                                                                           , CXTy^




                                                              Certification



         I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.




Date:
                                                                                     Executing officer's signature

                                                                   c<sz>                          F&i sPeziM-L
                                                                                        Printed name and title
                                      ATTACHMENT A


                   DESCRIPTION OF THE ITEMS TO BE SEARCHED

       This warrant applies to information associated with the account

yassemader93@gmail.com which was previously stored at premises owned, maintained,

controlled, or operated by Google Inc., an e-mail provider headquartered at 1600 Amphitheatre

Parkway Mountain View,CA 94043(the "SUBJECT FILES"). The SUBJECT FILES are

cmrently located on a computer disk that is in the custody ofthe Federal Bureau ofInvestigation

in its Northem Virginia Resident Office^ 9325 Discovery Boulevard, Manassas, Virginia 20109.
                                         ATTACHMENTS


                                          Items to be Seized


I.        Information to be disclosed:

          To the extent that the information described in Attachment A is within the possession,

custody, or control of the Federal Bureau ofInvestigation in its Northern Virginia Resident

Office,9325 Discovery Boulevard, Manassas, Virginia for the accounts or identifiers listed in

Attachment A:


     a.      The contents of all e-mails stored in the accounts (including attachments), including

             copies ofe-mails sent to and from the accounts, draft e-mails, the source and

             destination addresses associated with each e-mail, the date and time at which each e-

             mail was sent, and the size and length ofeach e-mail;

     b.      Any deleted emails,including any information described in subparagraph "a," above;

     c.      All records or other information regarding the identification ofthe accounts, to

             include full name,physical address,telephone numbers and other identifiers, records

             ofsession times and durations,the date on which the accounts were created, the

             length ofservice, the types ofservice utilized, the IP.address used to register the

             accounts,log-in IP addresses associated with session times and dates, accounts'

             status, altemative e-mail addresses provided during registration, methods of

             connecting,log files, and means and source ofpayment(including any credit or bank

             account number);

     d.      All records or other information stored by the accounts, including but not limited to ,

             push tokens, chat logs, address books, contact and buddy lists, calendar data, pictures,

             videos and files;
       e.        The content of any and all cloud storage accounts;

       f.        All records pertaining to voice transactions/calls;

       g.        All records pertaining to communications between Appje and any person regarding

                 the accounts, including contacts with support services and records ofactions taken.


 II.        Information to be seized by the government

            1.       All information described above in Section I, including correspondence, records,

documents, photographs, videos, electronic mail, chat logs, and electronic messages that

constitutes fruits, evidence and instrumentalities of violations of 18 U.S.C. §§ 2252(a)(1)and

(b)(1)(transportation of visual depictions of minors engaged in sexually expHcit conduct);

2252(a)(2) and(b)(1)(receipt and distribution ofvisual depictions of minors engaged in sexually

explicit conduct); 2252(a)(4)(B)and (b)(2)(possession ofand access with intent to view a visual

depiction ofa minor engaged in sexually explicit conduct); 2252A(a)(l)and (b)(1)

(transportation of child pornography); 2252A(a)(2)(A) and (b)(1)(distribution and receipt of

child pornography); and 2252A(a)(5)(B) and (b)(2)(possession of and access with intent to view

child pornography)including,for each account or identifier listed on Attachment A,information

pertaining to the following matters, including attempting and conspiring to engage in the

following matters:

                      a. Any and all data, records, communications or information reflecting

                          evidence, fi-uits, instrumentalities, and contraband ofthe crimes listed above;

                 2. Credit card and other financial information mcludmg but not limited to bills and

                    payment records;

                 3. Evidence of who used, owned, or controlled the accounts or identifiers listed on

                    Attachment A;
4. Evidence ofthe times the accounts or identifiers listed on Attachment A was

   used;

5. Passwords and encryption keys, and other access information that may be

   necessary to access the accounts or identifiers listed on Attachment A and other

   associated accounts.
